                               UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NORTH CAROLINA
                                    ASHEVILLE DIVISION
                                       1:20-cv-306-MOC

KATHLEEN MORGAN,                             )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )
                                             )               ORDER
KILOLO KIJAKAZI,                             )
Acting Commissioner of Social Security,      )
                                             )
       Defendant.                            )

       UPON CONSIDERATION of Defendant’s Consent Motion to Remand Under Sentence

Four of 42 U.S.C. § 405(g), (Doc. No. 14), Plaintiff’s consent to that motion, and the entire

record in this case, Defendant’s motion is GRANTED.

       It is hereby ORDERED that the final decision of the Commissioner is reversed and that

this matter is hereby remanded to the Commissioner for further administrative action.

       To this extent, Plaintiff’s pending Motion for Summary Judgment, (Doc. No. 12), is

DENIED as moot.

 Signed: October 28, 2021




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